       Case 1:17-cr-00133-DMT           Document 85          Filed 06/30/17    Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
               Plaintiff,                     )       ORDER
                                              )
       vs.                                    )
                                              )
Alicia Dawn Standish,                         )
                                              )       Case No. 1-17-cr-133
               Defendant.                     )


       Before the court is Defendant’s Motion for Reconsideration. (Doc. No. 59). In the motion,

the Defendant asks the court to reconsider its previous order detaining her pending trial. (Doc. No.

50). In that order, the court indicated it may consider releasing the Defendant to a halfway house or

an inpatient treatment program. In the current motion, the Defendant seeks release to reside with her

mother in Bismarck and to attend an evaluation on July 3, 2017. The United States opposes the

motion for release, arguing release is not appropriate. (Doc. No. 63). The United States, however,

agrees the Defendant should be granted a furlough to attend the evaluation. (Doc. No. 63).

       After consideration, the court agrees with the United States and, in part, GRANTS the

Defendant’s Motion for Reconsideration. Defendant shall be released on furlough effective at 4:00

p.m. on July 2, 2017, subject to the following conditions:

       (1)     Once released from custody, Defendant shall, with her mother, go directly to her

               mother’s residence in Bismarck, ND. Defendant shall spend the night at that

               residence.

       (2)     Defendant shall go to her scheduled evaluation on July 3, 2017. Defendant shall sign

               all releases of information requested by the Pretrial Services Officer regarding this
       Case 1:17-cr-00133-DMT             Document 85       Filed 06/30/17      Page 2 of 3




               evaluation.

       (3)     Defendant shall refrain from the use of alcohol; any use or possession of a narcotic

               drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,

               unless prescribed by a licensed medical practitioner, and any use of inhalants.

               Defendant shall submit to drug/alcohol screening at the direction of the Pretrial

               Services Officer to verify compliance. Failure or refusal to submit to testing or

               tampering with the collection progress or specimen may be considered the same as

               a positive test.

       (4)     Defendant shall submit her person, residence, vehicle, and/or possessions to a search

               conducted by the Pretrial Services Officer at the request the request of the Pretrial

               Services Officer. Failure to submit to a search may be grounds for revocation of

               pretrial release. Defendant shall notify any other residents that the premises may be

               subject to searches pursuant to this condition.

       (6)     Defendant shall not possess a firearm, destructive device, or other dangerous weapon.

       (7)     Defendant shall abide by all federal, state, local, and tribal laws.

       (8)     Defendant shall not have any contact, whether directly or indirectly, with the co-

               defendants in this case.

       (9)     Defendant shall immediately return to the Rugby jail upon completion of her

               evaluation and shall do so no later than 8:00 p.m. on July 3, 2017.

Although the court denies the Defendant’s release from custody at this time, the court will again

entertain whether to release the Defendant once an inpatient treatment program has been identified

or bed space becomes available in a halfway house.


                                                  2
Case 1:17-cr-00133-DMT         Document 85        Filed 06/30/17     Page 3 of 3




IT IS SO ORDERED.

Dated this 30th day of June, 2017.

                                     /s/ Charles S. Miller, Jr.
                                     Charles S. Miller, Jr., Magistrate Judge
                                     United States District Court




                                        3
